                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )      Case No. 4:11-CR-00223-BCW-4
                                              )
BILLY RAY HALL,                               )
                                              )
                       Defendant.             )

                                             ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation

determining Defendant’s competency (Doc. #181). Neither party filed objections to the Report

and Recommendation. After an independent review of the record, the applicable law, and the

parties’ arguments, the Court adopts the Magistrate’s findings of fact and conclusions of law.

Accordingly, it is hereby

       ORDERED that the Magistrate’s Report and Recommendation is adopted as the Order of

the Court and it shall be attached to and made part of this Order.

       IT IS SO ORDERED.




DATED: June 14, 2012                                 /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT




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